Case 1:01-cv-12257-PBS Document 6639-34 Filed 11/03/09 Page 1 of 2

EXHIBIT GG
Case 1:01-cv-12257-PBS Document 6639-34 Filed 11/03/09 Page 2 of 2

VAC MDL 71681

IN
(DEY, Dey LABORATORIES Sontxact Award
. COMMUNITY PHARMACY HETWORK/ PP}
A @ Lipha Americas company 2200 CORPORATE SLVD. NW
: SUITE 334
BOCA RATON, FL 33432
TO ORDER:
Contact your local vholesale:, cs, ORY Contract Mo.: CPN-026)
DBY LABORATORI89 BEfective Date: 01/01/88
10246 Miller Rd. Bxpiration Date: 12/31/98
Dallas, TX 75238 Terus: 2% 10; net 31 daye
000/527-4270 . Peeight: FOB Osetination
4
| Product Deacription Strength unic Size Brand Nene NDC Nuaber #/ctn. $/cen. |
1 3
ACBTYLCYSTEING SOLUTION 108 om. mUCOSIL 49502-101-04 12/CTN $20.20
ACETYLCYSTBINE SOLUTION 108 10 WL HUCOSIL 49$02-181-10 3/CIN $31.70
ACETYLCYSTRINE SOLUTION 108 30 ML muCcOosIL 49$02-181-30 3/CT™ $24.27
ACETYLCYSTRINE SOLUTION 208 6mL MUCOSTEL 49$02-182-04 12/CTN $20.76
ACETYLCYSTRINE SOLUTION 200 10 ML MUCOSIL 49802-162-10 aor $12.06
ACETYLCYSTBINE SOLUTION 208 30 4 MUCcOSIL 49502-162-30 3/cm $27.60
ACETYLCYSTRING SOLUTION 200 100 AL MUCOSIL 49$02-182-00 1/cT™ $73.62
ALBUTEROL SULFATE INHALATION & 2yrron 0.0038 3 ML DBY - LUTE 49802-697-03 28/C™ $12.00
ALBUTEROL SULPATS INHALATION &tyTION . 0.0838 24 ORY-LUTE 49$02-697-33 20/CTR $12.20
ALBUTEROL SULPATE INHALATION #LuTron / 0.0038 34 OsY- Lite 49502-697-60 60/ctn $26.40
CROHOLYN SODIUM INHALATION, Uqp 20 4G/2 ML 2 ML 4@9$02-609-02 60/CTN $20.00
CROMOLIN SODIUM INHALATION, Ugp 20 NG/2 ML 2 mL 49502-609-12 120/CTN $55.00
ISOBTHARING INHALATION SOLUTICg (png-nixeD) 8/F 0.088 3 #u OBY- Luts 49502-661-03 as/scm $6.80
ESORTHARING INHALATION SOLUTIi“ (pag-nixeD) 8/F 0.18 Ss mL Dey -Lute 49502-664-05 2S/cTn $6.50
TSORTHARING INHALATION SOLUTI(gg (pag-nixeo) $/P O.178 3 #L osY-LUTe 49$02-660-03 28/CTN $6.50
TSOBTHARING INHALATION SOLUTIigg (pag-mixe0) 8/F 0.258 2m DSY- LUTE 49502-659-02 as/cm $6.50
METAPROTERENOL SULFATE IMHALATICN soLn. UIP 0.48 2.8 ML DSY -LUTS 49502 -678-03 2$/cm $7.80
METAPROTSRENOL SULPATS INHALATION soLn. use 0.68 2.8 ML OGY-LUTB 49502-676-03 28/cTN $7.56
SODIUM CHLORIDE SOLUTION FOR Inmatation 0.45% 2 ML 49$02-€20-03 100/CTH $9.50
SODIUM CHLORIOB SOLUTION FOR Himatarion 0.458 S ML 49$02-620-05 100/CTN $9.50
SODIUM CHLORIDE SOLUTION FOR JimaLatron 0.9% 3 ML 49502-030-03 100/CTN $9.50
SODIUM CHLORIDE SOLUTION FOR limaLation 0.9% smu 49$02-630-05 100/CTN $9.50
SODIUM CHLORIDE SOLUTION POR Limatation 0.98 18 ML 49502-030-15 24/ct™ $5.76
SODIUM CHLORIDE SOLUTION POR limazatron 0.98 24. DEY-VIAL 49502-030-03 250/cTN $29.10
SODIUM CHLORIDE SOLUTION FOR limtaLarron fo.98 S ML DEY-VIAL 49$02-020-05 2S0/CTW $29.10
SODIUM CHLORIDE SOLUTION FOR Iimatation . “O.8 10 HL DEY- VIAL 49502-030-10 128/cm $29.10
SODIUM CHLORIDE SOLUTION FOR FinacaTron 0.98 20 ML DRY -VIAL 49$02-030-20 100/cs $32.98
SODIUM CHLORIDE SOLUTION FOR Himatarron ae a5 ML DEY - PAK 49$02-640-15 s0/CTN $27.80
SODIUM CHLORIDE SOLUTION POR Jimacarron 108 a5 ML DEY - PAK 49502-641-15 $0/cTN $27.50
WATER, PURIPIGO, USP, FOR IMthiaTion $ mL 49$03-010-05 100/cTN $9.50

Bltective: 01/01/98

